Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 1 of 21 Page ID #:137




                     EXHIBIT 3
 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 2 of 21 Page ID #:138



   European shares dip as Chinese coronavirus concerns deepen; Sars-like
    virus scares investors as millions start travelling for Chinese new year
                                 celebrations
                                                        The Guardian(London)
                                             January 21, 2020 Tuesday 6:23 PM GMT


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Section: BUSINESS; Version:3
Length: 397 words
Byline: Joanna Partridge

Body


European shares have dipped as concerns deepen about the spread of a mysterious virus in China, just as
hundreds of millions of people begin travelling for Chinese new year.

The new virus belongs to the same family of coronaviruses that causes Sars. The 2002-03 outbreak of that virus
killed at least 650 in China and Hong Kong, and caused substantial economic damage and disruption.

Major European indices ended trading lower on Tuesday, following the sell-off in Asian markets, where Hong
Kong's Hang Seng closed 2.8% lower and the Shanghai Composite index ended the day 1.4% down.

Shares in airlines which operate long-haul flights, from British Airways owner IAG to Air France and Lufthansa, fell
2-3.5% because of fears of a major outbreak at a peak travel time.

Other losers were luxury goods groups, which rely on China for a significant proportion of their sales, including
Gucci owner Kering, LVMH, Burberry and Hermès. At the time of Sars some luxury groups lost about 30% of their
value in three months. Since then China has become a far bigger market for the top luxury labels.

China's healthy ministry confirmed on Tuesday that the virus, which causes breathing difficulties, can be transmitted
between humans. The central city of Wuhan is believed to be the centre of the outbreak, which has spread across
the country and claimed at least six lives. The World Health Organization has called for a Wednesday meeting to
consider whether to declare an international health emergency.

About 300 cases of infected patients have been confirmed by China, and there are also reports of cases in
Thailand, South Korea and Japan. Several US airports have begun screening incoming airline passengers from
central China.

The consultancy firm Capital Economics said the 2003 Sars outbreak had an economic and financial market
impact, and especially hit travel and tourism spending, but it said the virus had little long-term impact on growth.

Even though China now plays a much bigger role in the global economy compared with 17 years ago, the
consultancy said: "For the time being we are not altering any of our forecasts in response to the spread of the new
virus."
 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 3 of 21 Page ID #:139
    European shares dip as Chinese coronavirus concerns deepen; Sars-like virus scares investors as millions
                               start travelling for Chinese new year celebrations

It added: "While we remain fairly pessimistic about the prospects for China's equities relative to those elsewhere,
that instead reflects our assessment of the outlook for the country's economy and trade relations with the US."


Load-Date: January 21, 2020


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                                                    Page 2 of 2
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      Markets on the slide as fears spread over virus; Interest rate talk piles
               pressure on Wall Street ; Markets hit by virus fear
                                                       The Times (London)
                                                   January 28, 2020 Tuesday
                                                    Edition 2, National Edition


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Section: FEATURES; Pg. 35,37
Length: 870 words
Byline: Gurpreet Narwan

Body


Global stock markets closed sharply lower yesterday as fears grew about the spread and potential impact of the
coronavirus outbreak.

Last night indices on Wall Street suffered the same reverses experienced earlier in Asia and in Europe, ending the
day deep in the red after a turbulent start to the week.

New York's markets were also under pressure from bets that the US Federal Reserve would bring forward an
expected interest rate cut, sending them to their lowest point in nearly four months in intra-day trading.

Fed officials begin a two-day ratesetting meeting today with a decision due tomorrow. There were few voices
predicting a rate cut, leaving an 89.5 per cent probability of no change and 10.5 per cent odds on an increase,
according to the closely followed CME Fedwatch tool.

Though some of those losses were pared back later, Wall Street remained well below par when the final bell was
rung. The S&P 500, the most representative of the US indices, was down by 1.6 per cent, or 51.84 points, at
3,243.63, and 2.6 per cent off its record close of 3,329.62 only ten days ago.

The Dow Jones industrial average fell by 1.6 per cent, or 453.93 points, to 28,535.80, its fifth consecutive decline,
while the technology-focused Nasdaq was down 1.9 per cent, or 175.60 points, at 9,139.31. The CBOE Volatility
Index, Wall Street's so-called "fear gauge", jumped to its highest since October and was up by 20.2 per cent, or
2.94 points, at 17.50.

Tobias Levkovich, chief equity strategist at Citigroup, said that the virus outbreak had "added a black swan factor to
investors' minds".

He noted that pandemics over the past two decades had prompted the S&P 500 to fall by between 6 per cent and
13 per cent. "The Sars scare in Hong Kong in 2003 changed the mindset of fund managers who had not dealt with
such a health risk," he said. "Now the coronavirus has created deep concern, with still-limited information on the
extent of contagion and what remedies can be put in place."
 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 5 of 21 Page ID #:141
   Markets on the slide as fears spread over virus; Interest rate talk piles pressure on Wall Street ; Markets hit by
                                                      virus fear

At the close in London, the FTSE 100 was down 2.3 per cent, or 173.93 points, at 7,412.05, its largest points
decline since October 2 taking it down to a level not seen since the Monday after December's general election.
Shares in Intercontinental Hotels Group, which owns the Holiday Inn chain, fell by 4 per cent as International
Airlines Group, parent company of British Airways, skidded by 5.1 per cent.

Germany's Dax index fell by 2.7 per cent, while France's CAC 40 was also off by 2.7 per cent, or 161.24 points, at
5,863.02. The pan-European Stoxx 600 index was down by 2.3 per cent.

British health chiefs said that the coronavirus, a deadly pneumonia-like infection that has spread across the world
from Wuhan in China, was likely to already be in the country, as the United States confirmed its fifth case.

There are 2,744 confirmed infections, but scientists believe that as many as 100,000 people worldwide have been
infected. At least 80 people have died from the virus.

Investors ditched shares in luxury goods groups, airlines, leisure companies and miners for safe-haven assets,
such as government bonds and gold. The oil price dipped below $59 a barrel amid concerns that the virus could
disrupt global flows.

The pound held steady before the Bank of England's interest rate decision, tottering around the $1.30 mark.
Markets are uncertain whether the Bank will cut rates from 0.75 per cent when the rate-setting monetary policy
committee meets on Thursday.

Analysts said that it was too early to weigh up the potential economic consequences of the pandemic. Alastair
Continued on page 37, col 3 Continued from page 35 George, chief investment strategist at Edison Investment
Research, said: "There is insufficient data on this viral outbreak to suggest a radically bearish change to our
cautious view at this time."

He added: "The key for investors is to focus on the economic costs of controlling the outbreak, rather than fearing
mass panic. Investors should now apply a discount to sectors where the economic impact of attempts to control the
coronavirus outbreak are likely to hit hardest."

Mr George said that a downgrade to Chinese first-quarter growth was likely and that until cases peaked, the travel
and entertainment sectors would underperform the market. "The coming weeks will be critical," he said.

Bruce Kasman, an analyst at JP Morgan, said: "Markets had been vulnerable to an eventual correction given signs
of exuberance ... but a pandemic is rarely on anyone's list of negative catalysts." He expected a "regional rather
than global shock" from the virus.

Markets in China and Hong Kong are closed until next week for an extended lunar new year holiday. However, the
offshore yuan fell close to its lowest of the year as exchange-traded funds linked to Chinese companies declined.

Yields on benchmark ten-year US government bonds, which move in the opposite direction to prices, fell to their
lowest since October. They were last down 4.3 per cent, or seven basis points, to 1.61 per cent.

The price of Brent crude, the international oil benchmark, was down by 2.6 per cent, or $1.57, at $59.12 in New
York last night. The price of gold, a favourite safe haven for investors, was up 0.7 per cent, or $10.50, at $1,582.03.


Load-Date: January 28, 2020


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  Eurozone growth slows sharply as French and Italian economies shrink -
 business live; Rolling coverage of the latest economic and financial news,
 as France's economy contracts by 0.1% in the last quarterLatest: Eurozone
      growth slows to just 0.1%Italy shrank by 0.3%... French GDP fell
   0.1%Contraction is blow to MacronBut Spain and Belgium have grown
                                                        The Guardian(London)
                                              January 31, 2020 Friday 7:48 AM GMT

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Section: BUSINESS; Version:15
Length: 7028 words
Byline: Graeme Wearden

Body

block-time published-time 3.11pm GMT

Summary

Time for a quick recap

Growth in the eurozone has almost fizzled out in the last quarter, hit by weak internal demand and a slowing global
economy.

Eurozone GDP only expanded by 0.1% in October-December, down from 0.3% in July-September. It's the weakest
performance since 2013, and raises the prospect that some countries will fall into recession this year.

France disappointe d, with GDP falling by 0.1% in Q4. Finance minister Bruno Le Maire blamed the protests that
have hurt its economy in recent months.

Italy was another laggard , shrinking by 0.3%. But Spain outperformed its neighbours, growing by 0.5%.

Economists have warned that the eurozone could struggle this year, having been wounded by trade conflicts in
recent quarters.

But there are brighter signs in the UK , with mortgage approvals rising sharply in December.

Global stock markets are falling again today , as the coronavirus crisis continues to alarm investors.

Goldman Sachs has predicted that the efforts to contain the virus will knock China's growth down to 5.5% this year,
from 5.9%, with a small impact on the US economy too.

block-time published-time 3.06pm GMT

Britain's friends over the channel are threatening to block the rescue of British Steel.
 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 7 of 21 Page ID #:143
  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

The French government aren't happy about China's Jingy Group buying British Steel - which owns a factory making
steel tracks for France's railways.

Not a great advert for entante cordials after Brexit (due in 8 hours...)

Related: France threatens to block Chinese firm's rescue of British Steel

block-time published-time 3.01pm GMT

Brexit uncertainty may has hurt UK productivity and investment, and held back growth, but it hasn't harmed David
Cameron's bank balance....

Related: David Cameron has made £1.6m since Brexit vote in 2016

block-time published-time 2.57pm GMT

Coronavirus fears have hit Wall Street again.

The Dow Jones industrial average has fallen by 264 points, or 0.9%, to 28,595 points.

Energy firms Exxon Mobile and Chevron are leading the fallers. The oil price has been hit by forecasts of lower
growth due to the epidemic which reached the UK today.

The S&P 500 has lost 0.5%, and the tech-focused Nasdaq is 0.4% lower.

Brad Bechtel of Jefferies reckons the market reaction is overdone:

The steady drumbeat of negative headlines combined with government reactions to the spread of the virus is still
roiling markets a bit and it's hard for markets to find that stability. It still feels like there is a lot of cash on the
sidelines looking to buy the dip it'sjust a matter of timing it appropriately. The idea that this virus is nowhere near as
deadly as the common flu in the US was sort of helping calm the situation and yet we still are seeing reactions in
the market on every new person infected or passing away.

Understand the fear around the spread of the virus but the market reaction is a bit strange to me still. The reactions
of governments has been extreme and will be costly, that is important for markets, but to shake the mighty S&P in
the face of such powerful earnings from US companies is a bit of a head scratcher.

block-time published-time 2.00pm GMT

 Newsflash: Airline manufacturer Airbus has ben hit with fines totalling (EURO)3.592 to cover a series of bribery
cases.

France's financial prosecutor has just announced the penalties, which include more than (EURO)2bn to settle
corruption charges in France.

The planemaker has been investigated by French and British authorities for suspected corruption over jet sales
dating back over a decade. It has also faced U.S. investigations over suspected violations of export controls.

enltrAirbus's EUR3.6 billion fine includes EUR1 billion in recovered profits from corrupt contracts

- Benjamin Katz (@_benkatz) January 31, 2020

enltrBreakdown: (EURO)2.08 billion for France, (EURO)984 million for UK, (EURO)526 million for the U.S.

- Benjamin Katz (@_benkatz) January 31, 2020



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 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 8 of 21 Page ID #:144
  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

block-time published-time 1.37pm GMT

 Back in the City, investment services platform Hargeaves Lansdown are the biggest FTSE 100 faller, down almost
7%.

HL reported that its net new business declined 9% year-on-year in the last quarter. That's partly due to the scandal
around Neil Woodford's funds, which HL had promoted as "best buy" options.

"Best avoid" would have been better advice, given the huge losses which investors face.

Related: Neil Woodford loyalists pay dearly for stock-picker's style drift

HL's CEO, Chris Hill, says it has been a tough few months:

The external market was challenging in the second half of 2019, with political uncertainty, a General Election in the
UK, Brexit and world trade tariffs all raising concerns. As we have seen in previous unpredictable periods, client
confidence and retail investment flows were affected.

The Investment Association reported weak retail fund flows throughout and the suspension of the two Woodford
funds also contributed to the general unease.

 Paul Mumford, fund manager at Cavendish Asset Management, suggests 2020 will also be bumpy for Hargeaves
Lansdown:

What price Neil Woodword? Well so far the problems haven't revealed themselves. The loss of new business must
be a worry, especially if it's linked to a loss of trust as a result of the company's role in the Woodford scandal.
Unfortunately the post-mortem of that debacle has only just begun. With the Woodford fund distribution guidelines
announced recently, they're back under the microscope.

"For Hargreaves you'd expect to see at least a fine from the FCA, and perhaps even a class action lawsuit from
shareholders. How that will affect their business remains to be seen. It could be a very long year ahead for the
company."

block-time published-time 1.16pm GMT

French finance minister blames strikes            French Economy Minister Bruno Le Maire. Photograph: POOL
New/Reuters

 France's finance minister has blamed the industrial action and protests against the French government for the
slump in growth in the last quarter.

Insisting that the underlying economy is strong, Le Maire says:

"This temporary slowdown does not call into question the fundamentals of French growth, which are solid.

We are nonetheless particularly vigilant of international uncertainties."

Le Maire has a point - as explained earlier, consumer spending and investment was still positive. The 0.1% drop in
growth was due to businesses running down inventories.

But, if those firms remain nervous, they could move onto cutting orders and axing staff....

block-time updated-timeUpdated at 1.20pm GMT

block-time published-time 12.29pm GMT

Capital Economics are also gloomy -- predicting that 2020 will be a weaker year than hoped.

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 Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 9 of 21 Page ID #:145
  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

"The fourth-quarter GDP and January consumer prices data published today support our view that Eurozone growth
and inflation will be weaker this year than most expect.

This underlies our forecast that the European Central Bank will eventually be forced to loosen policy further,
perhaps in the second half of the year."

block-time published-time 12.10pm GMT

Economist: Spectre of recession stalks eurozone again

 Christoph Weil, economist at Commerzbank, reckons the European Central Bank will be very concerned by the
eurozone slowdown - which could spur it into more stimulus measures.

Weil says ( via the FT ):

"The spectre of recession is back.

"Economic growth in the eurozone came to a virtual standstill at the end of the year... The ECB is likely to view this
with concern."

block-time updated-timeUpdated at 12.10pm GMT

block-time published-time 11.45am GMT

The eurozone growth slump is partly due to Donald Trump trade wars, says Barret Kupelian, senior economist at
PwC.

This disappointing performance was not entirely unexpected, given that the Eurozone has been one of the
economies most impacted by international trade disputes.

While we don't have a full national breakdown of the headline growth rate, some statistical agencies released
estimates of the national GDP growth rate. In France, the economy shrunk by 0.1% quarter-on-quarter. However,
without the inventory effect French GDP would have grown by 0.3% quarter on quarter. The Italian economy
contracted in the last quarter of 2019, meaning that it didn't grow at all last year. But in contrast, Spain continued to
grow in the fourth quarter, translating to an annual GDP growth figure of 2%.

We don't yet know how the UK fared in the last quarter; the most recent figures show 0.1% growth in September-
November.

But Kupelian points out that the eurozone has actually outperformed the UK since the Brexit vote -- as Britain
"missed out on the synchronised upswing in economic activity in 2016/17."

  UK and eurozone growth Photograph: PwC

block-time published-time 11.25am GMT

Weak growth and coronavirus fears hit markets

 European stock markets are sliding again today, hit by the unexpectedly weak growth figures and the ongoing
coronavirus crisis.

Every index is down, led by Italy (down 1.4%) and Spain (-1%).

In London, the FTSE 100 is also suffering, down 60 points or 0.8% to a six-week low.

The news that Britain now has two coronavirus cases is also worrying traders (and the rest of the public too, I
suspect).

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    Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 10 of 21 Page ID
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  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

Related: Coronavirus live updates: first two patients in UK test positive

   European stock markets Photograph: Refinitiv

block-time published-time 11.24am GMT

enltr"Disappointingly slow GDP growth at the end of 2019, but in line with surveys and hard data." @ClausVistesen
on        #Eurozone Advance Q4 GDP and January Inflation             #PantheonMacro

- Pantheon Macro (@PantheonMacro) January 31, 2020

block-time published-time 11.22am GMT

 Josie Dent , Senior Economist at the CEBR, points out that France and Italy are now half-way into recession
following their contractions last quarter.

The eurozone economy scraped through with positive growth of just 0.1% at the end of 2019. Major economies,
including France and Italy recorded contractions in Q4, and politicians in these countries will be anxious for GDP
growth to return, as further contractions in Q1 would put the countries in a technical recession.

However, a glimmer of home comes from the pick-up in inflation, which suggests that demand for goods and
services could have risen at the start of 2020."

block-time published-time 10.47am GMT

Reuters: Euro zone GDP falls short of expectations, inflation picks up

Here's Reuters' take on today's growth reports:

Euro zone economic growth was slower than expected in the last three months of 2019, a first estimate showed on
Friday, while inflation in January picked up in line with expectations thanks to a jump in prices of food, alcohol and
tobacco and energy.

The European Union's statistics office Eurostat said gross domestic product in the 19 countries sharing the euro
rose 0.1% quarter-on-quarter for a 1.0% year-on-year gain.

Economists polled by Reuters had expected a 0.2% quarterly and a 1.1% annual increase.

Separately, Eurostat said consumer prices fell 1.0% month-on-month in January for a 1.4% year-on-year rise,
accelerating from a 1.3% rate in December and 1.0% in November.

However, the pick-up in headline price growth was mainly due to a jump in the volatile prices of food, alcohol and
tobacco which rose 2.2% year-on-year. Energy prices were also up 1.8%.

Without unprocessed food and energy, what the European Central Bank calls core inflation, prices grew 1.3% year-
on-year, decelerating from 1.4% in December.

An even narrower inflation measure watched by many market economists also excluding alcohol and tobacco
prices which can move due to excise tax changes, decelerated even more to 1.1% from 1.3% in December in year-
on-year terms.

 The ECB wants to keep inflation below but close to 2% over the medium term but has been struggling for years to
spur faster price growth despite its programme of government bond buying on the market to inject more cash into
the economy.

block-time published-time 10.36am GMT


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    Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 11 of 21 Page ID
                                       #:147
  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

In another blow to households, inflation across the eurozone has picked up.

Consumer prices rose by 1.4% year-on-year in December, up from 1.3%, due to rising food, alcohol and tobacco
prices.

enltrBREAKING: #Eurozone GDP inched up by 0.1% in the fourth quarter, that was slower than 0.2% quarterly
growth expected by economists.               @EU_Eurostat also reported annual inflation expected to be 1.4% in
January, a tenth higher than Dec, while the core slowed to 1.1% growth vs 1.3%

- Boason Omofaye (@BBoason) January 31, 2020

block-time published-time 10.12am GMT

Some snap reaction to the eurozone slowdown :

enltrIt is quite a relief, that eurozone Q4 GDP wasn't worse after the bad French & Italian numbers. But at 0.1% q/q
growth remained weak at the end of 2019, while surveys only provide tentative evidence of a pick-up in early-2020.
/1 pic.twitter.com/9n0rVs6aHl

- Oliver Rakau (@OliverRakau) January 31, 2020

enltrMeanwhile Eurozone prelim Q4 GDP readings are ugly: - Italy: -0.3% qoq, cons +0.1% - France: -0.1% qoq,
cons +0.2% But Spain beat +0.5% vs 0.4% cons Overall: EZ GDP +0.1% vs cons +0.2% (weaker than exp) $EUR

- Joumanna Bercetche (@CNBCJou) January 31, 2020

block-time published-time 10.04am GMT

Eurozone growth slows sharply

Newsflash: Growth across the eurozone, and the European Union, slowed sharply in the last quarter.

Eurozone and EU GDP both only rose by 0.1% in October-December, down from 0.3% in July-September, dragged
down by Italy (-0.3%) and France (-0.1%).

Economists had expected the eurozone to grow by 0.2% in the last quarter, in the face of weak global growth and
trade tensions.

On an annual basis, the eurozone economy is only 1% larger than a year ago -- a weak performance.

We don't yet know how Germany, the region's biggest economy, performed - that data comes out next month, as
does UK GDP.

Eurostat, which compiles the survey, adds:

According to a first estimation of annual growth for 2019, based on quarterly data, GDP grew by 1.2% in the euro
area and 1.4% in the EU28.

enltrEuro area #GDP +0.1% in Q4 2019, +1.0% compared with Q4 2018: preliminary flash estimate from
#Eurostat       https://t.co/x17Ql1VD2U   pic.twitter.com/5FcqrG37Ir

- EU_Eurostat (@EU_Eurostat) January 31, 2020

undltr #Eurozone GDP (Q4 - 1st est.) YoY 1.0% v 1.1% exp. (prev 1.2%) QoQ 0.1% v 0.2% exp. (prev 0.2%)
$EUR


                                                   Page 6 of 14
    Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 12 of 21 Page ID
                                       #:148
  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

- Michael Brown (@MrMBrown) January 31, 2020

block-time updated-timeUpdated at 10.12am GMT

block-time published-time 9.56am GMT

UK mortgage approvals rise

In a fresh sign of a Boris Bounce, UK mortgage approvals have hit their highest level since mid-2017.

Some 67,241 mortgages were signed off in December, up from 65,514 in November, and higher than expected.
That may show the housing market is heating up, after being dragged back by Brexit uncertainty and political
deadlock.

block-time published-time 9.52am GMT

City news: Aston Martin has been rescued in a £500m deal, partly funded by billionaire Lawrence Stroll.

As part of the deal, the luxury carmaker will enter Formula One (where Stroll's son Lance currently wizzes about).

Aston Martin is also tapping up its long-suffering shareholders through a rights issue, letting them buy new stock at
£4 -- compared to the £19 they paid when it floated in 2018. Hopefully Aston Martin's new F1 cars will do a little
better.

Related: Aston Martin to enter F1 from 2021 under £500m rescue deal

block-time updated-timeUpdated at 9.54am GMT

block-time published-time 9.35am GMT

While Europe's economies stumble, the British pound is enjoying a little rally as the Brexit hour approaches.

Sterling is up around 0.3% this morning, hitting (EURO)1.192 against the euro for the first time since mid-
December.

The pound is benefitting from yesterday's Bank of England decision to leave interest rates on hold, dashing
expectations of a cut.

 Traders are also looking ahead to the UK's trade negotiations. Prime minister Boris Johnson is expected to indicate
on Monday that he will push for a basic trade deal based on that between the EU and Canada. Such a deal could
be easier to agree by the end of the transition period in December.

But Downing Street has been warned that another crucial deal, with America, will be tricky.Kim Darroch, the
outgoing British ambassador to Washington, has told the Guardian that Donald Trump will demand higher NHS
drugs prices -- and questioned whether the UK can really negotiate with the US and EU at the same time....

https://www.theguardian.com/politics/2020/jan/31/trump-will-put-us-interests-first-in-trade-talks-says-kim-darroch-
ambassador

Related: Trump will insist NHS pays more for drugs in trade deal, says ambassador

block-time published-time 9.11am GMT

Italy also shrinking

Newsflash: Italy's economy has also contracted, raising further concerns over the health of the eurozone.


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    Case 8:21-cv-01260-JLS-JDE Document 23-3 Filed 09/27/21 Page 13 of 21 Page ID
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  Eurozone growth slows sharply as French and Italian economies shrink - business live; Rolling coverage of the
                            latest economic and financial news, as France's ec....

Italian GDP shrank by 0.3% in the final three months of 2019, new figures show. That's the worst quarterly
performance since early 2013.

ISTAT, Italy's statistics body, blamed weak domestic demand, with industry and agriculture shrinking and services
broadly flat.

Economists had expected the economy to stagnate, but not actually shrink, so this is a blow to Rome.

On a year-on-year basis, GDP was unchanged compared to the fourth quarter of 2018 - further highlighting Italy's
weak economy.

With France also shrinking, this is turning into a bad morning for the eurozone....

enltr #Italy Q4 GDP Q/Q: -0.3%; Y/Y: 0.0%...are they protesting about Macron there too?!
pic.twitter.com/7DxQzRQD8W

- Ioan Smith (@moved_average) January 31, 2020

enltrA simply shocking GDP number out of Italy as its economy contracted by 0.3% in the final quarter of 2019. As I
explain below Italy remains in an economic depression. https://t.co/cptqxzeRMY

- Shaun Richards (@notayesmansecon) January 31, 2020

block-time published-time 9.01am GMT

  An electronic stock board showing Japan's Nikkei 225 index at a securities firm in Tokyo today Photograph:
Eugene Hoshiko/AP

 Asia-Pacific stock markets have suffered fresh losses today, as traders continue to be gripped by coronavirus
fears.

South Korea's KOSPI index continued to bear the brunt, down another 1.3% -- having lost around 2.8% on both
Wednesday and Thursday following the Lunar new year.

With China's markets still shut, Hong Kong lost another 0.5%.

Japan, though, rallied 0.5% - but still posted its worst weak in six months.

block-time published-time 8.49am GMT

It may not be all bad news for France.

 Derek Halpenny of MUFG suggests growth could pick up this quarter, if firms restock after running down their
inventories at the end of 2019:

France confirmed this morning that the economy contracted in Q4 - real GDP fell 0.1% Q/Q, well below the
consensus +0.2%. The good news however is that the downside surprise reflected an inventory liquidation -
excluding inventories real GDP would have expanded by 0.3% Q/Q. So we may see that growth come back in Q1.

block-time published-time 8.39am GMT

Better news: Spain's economy has grown by 0.5% in the last quarter of 2019

That's up from 0.4% in Q3, partly making up for France's decline.




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enltr #Spanish        #GDP up 0.5% quarter-on-quarter & 1.8% year-on-year in fourth quarter of 2019, following
expansion of 0.4% q/q & 1.9% y/y in Q3. Q4         #Eurozone data out so far show GDP up q/q in        #Spain
(0.5%)        #Belgium (0.4%) &       #Austria (0.3%) but down 0.1% q/q in       #France

- Howard Archer (@HowardArcherUK) January 31, 2020

block-time published-time 8.19am GMT

Today's weak French GDP report is a blow to Emmanuel Macron, says Bloomberg:

Gross domestic product in the region's second-largest economy fell 0.1% in the fourth quarter amid a decline in
exports and a huge drag from inventories. All of the economists surveyed by Bloomberg had predicted growth.
Without the inventory effect, growth would have been about 0.3%, according to Bloomberg Economics.

 Still, the contraction is a sting for Macron, who's already facing mass protests and strikes against his pension
reforms, and which have disrupted household spending. His government has repeatedly pointed to France's relative
strength in Europe as a sign his reforms of taxes and labor laws are working.

block-time published-time 8.10am GMT

European economists are disappointed to see that France's economy has contracted.

UBS's Filip Lipev says the GDP data is worst than expected, due to weak domestic demand....and a bad start to the
day.

enltr #France 's GDP unexpectedly contracts by 0.1% in Q4 (vs. +0.2% expected), after an expansion by 0.3% in
Q3. Thus, full-year GDP growth came in at 1.2% in 2019, down from 1.7% in 2018. Factors include slower
#domestic demand and negative impact from         #net       #exports.      #badstartofday

- Filip Lipev (@filiplipev) January 31, 2020

Ludovic Subran, chief economist at Allianz, blames the anti-government strikes that have gripped Paris for many
months:

enltr #France GDP contracted by -0.1% in Q4 2019 after +0.3% q/q in Q3. Massive destocking explains the counter
performance as well as strikes cost -0.1pp. Overall, political uncertainty cost -0.2% pp to French GDP in 2019. We
expect French GDP to grow by 1.2% y/y in 2020, as in 2019.

- Ludovic Subran (@Ludovic_Subran) January 31, 2020

block-time published-time 7.43am GMT

Introduction: France is shrinking

 Good morning, and welcome to our rolling coverage of the world economy, the financial markets, the eurozone and
business.

France's economy has suffered a shock contraction, raising fresh concerns about the heart of the Eurozone - on the
day Britain leaves the EU.

French GDP contracted by 0.1% in the fourth quarter of 2019, new figures from statistics body INSEE show. That's
down from 0.3% growth in July-September, and much worse than the 0.2% forecast.

enltrUh-oh! #France 's economy unexpectedly decreased in Q4.            #GDP -0.1%, first decline since Q2 2016.
   pic.twitter.com/sjJNMcLi7G


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                            latest economic and financial news, as France's ec....

- jeroen blokland (@jsblokland) January 31, 2020

The decline was driven by a slowdown in consumer spending, and a sharp drop in business investment growth..
Companies also ran down their inventory stocks, suggesting nervousness about the future.

Imports and exports both declined -- a worrying sign for the health of the economy.

 President Macron will surely be concerned -- this is the first time France's economy has contacted since he took
office.

INSES says:

Household consumption expenditures slowed down slightly (+0.2% after +0.4%), and total gross fixed capital
formation decelerated in a more pronounced manner (GFCF: +0.3% after +1.3%). Overall, final domestic demand
excluding inventory changes slowed down compared with the previous quarter: it contributed to +0.3 points to GDP
growth, after +0.7 points.

Imports fell back this quarter (-0.2% after +0.6%) as well as exports (-0.2% after -0.3%). All in all, the contribution of
foreign trade balance to GDP growth was zero, after a negative contribution (-0.3 points) in the previous quarter.
Changes in inventories contributed negatively to GDP growth (-0.4 points after -0.1 points).

   French GDP Photograph: INSEE

France is the first major European country to post GDP figures for the last quarter, so this is a worrying sign -
especially as Germany only narrowly avoided recession last year.

It means France's economy only grew by 1.2% in 2019, down from 1.7% in 2018.

We'll find out later this morning how Italy fared, and then how the overall eurozone performed during the last
quarter.

Reaction to follow....

The agenda
    • 9am GMT: First estimate of Italian GDP for Q4 2019
    • 9.30am GMT: UK mortgage approvals figures for December
    • 10am GMT: First estimate of Eurozone GDP for Q4 2019

block-time updated-timeUpdated at 7.48am GMT

 3057 2020-02-03T07:45:00Z true 2020-01-31T07:45:04Z                 false   false   2020-01-31T15:11:45Z      true   UK
theguardian.com https://gu.com/p/d78c2

false true https://media.guim.co.uk/317ca505caf81a515d6a0d0db6322853a2f33b7d/0_0_5472_3283/500.jpg false
en true Time for a quick recap Growth in the eurozone has almost fizzled out in the last quarter, hit by weak internal
demand and a slowing global economy. Eurozone GDP only expanded by 0.1% in October-December, down from
0.3% in July-September. It's the weakest performance since 2013, and raises the prospect that some countries will
fall into recession this year. France disappointed, with GDP falling by 0.1% in Q4. Finance minister Bruno Le Maire
blamed the protests that have hurt its economy in recent months. Italy was another laggard, shrinking by 0.3%. But
Spain outperformed its neighbours, growing by 0.5%. Economists have warned that the eurozone could struggle
this year, having been wounded by trade conflicts in recent quarters. But there are brighter signs in the UK, with
mortgage approvals rising sharply in December. Global stock markets are falling again today, as the coronavirus
crisis continues to alarm investors. Goldman Sachs has predicted that the efforts to contain the virus will knock
China's growth down to 5.5% this year, from 5.9%, with a small impact on the US economy too. Britain's friends

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over the channel are threatening to block the rescue of British Steel. The French government aren't happy about
China's Jingy Group buying British Steel - which owns a factory making steel tracks for France's railways. Not a
great advert for entante cordials after Brexit (due in 8 hours...) Brexit uncertainty may has hurt UK productivity and
investment, and held back growth, but it hasn't harmed David Cameron's bank balance.... Coronavirus fears have
hit Wall Street again. The Dow Jones industrial average has fallen by 264 points, or 0.9%, to 28,595 points. Energy
firms Exxon Mobile and Chevron are leading the fallers. The oil price has been hit by forecasts of lower growth due
to the epidemic which reached the UK today. The S&P 500 has lost 0.5%, and the tech-focused Nasdaq is 0.4%
lower. Brad Bechtel of Jefferies reckons the market reaction is overdone: The steady drumbeat of negative
headlines combined with government reactions to the spread of the virus is still roiling markets a bit and it's hard for
markets to find that stability. It still feels like there is a lot of cash on the sidelines looking to buy the dip it'sjust a
matter of timing it appropriately. The idea that this virus is nowhere near as deadly as the common flu in the US was
sort of helping calm the situation and yet we still are seeing reactions in the market on every new person infected
or passing away. Understand the fear around the spread of the virus but the market reaction is a bit strange to me
still. The reactions of governments has been extreme and will be costly, that is important for markets, but to shake
the mighty S&P in the face of such powerful earnings from US companies is a bit of a head scratcher. Newsflash:
Airline manufacturer Airbus has ben hit with fines totalling (EURO)3.592 to cover a series of bribery cases. France's
financial prosecutor has just announced the penalties, which include more than (EURO)2bn to settle corruption
charges in France. The planemaker has been investigated by French and British authorities for suspected
corruption over jet sales dating back over a decade. It has also faced U.S. investigations over suspected violations
of export controls. Back in the City, investment services platform Hargeaves Lansdown are the biggest FTSE 100
faller, down almost 7%. HL reported that its net new business declined 9% year-on-year in the last quarter. That's
partly due to the scandal around Neil Woodford's funds, which HL had promoted as "best buy" options. "Best avoid"
would have been better advice, given the huge losses which investors face. HL's CEO, Chris Hill, says it has been
a tough few months: The external market was challenging in the second half of 2019, with political uncertainty, a
General Election in the UK, Brexit and world trade tariffs all raising concerns. As we have seen in previous
unpredictable periods, client confidence and retail investment flows were affected. The Investment Association
reported weak retail fund flows throughout and the suspension of the two Woodford funds also contributed to the
general unease. Paul Mumford, fund manager at Cavendish Asset Management, suggests 2020 will also be bumpy
for Hargeaves Lansdown: What price Neil Woodword? Well so far the problems haven't revealed themselves. The
loss of new business must be a worry, especially if it's linked to a loss of trust as a result of the company's role in
the Woodford scandal. Unfortunately the post-mortem of that debacle has only just begun. With the Woodford fund
distribution guidelines announced recently, they're back under the microscope. "For Hargreaves you'd expect to see
at least a fine from the FCA, and perhaps even a class action lawsuit from shareholders. How that will affect their
business remains to be seen. It could be a very long year ahead for the company." France's finance minister has
blamed the industrial action and protests against the French government for the slump in growth in the last quarter.
Insisting that the underlying economy is strong, Le Maire says: "This temporary slowdown does not call into
question the fundamentals of French growth, which are solid. We are nonetheless particularly vigilant of
international uncertainties." Le Maire has a point - as explained earlier, consumer spending and investment was still
positive. The 0.1% drop in growth was due to businesses running down inventories. But, if those firms remain
nervous, they could move onto cutting orders and axing staff.... Capital Economics are also gloomy -- predicting
that 2020 will be a weaker year than hoped. "The fourth-quarter GDP and January consumer prices data published
today support our view that Eurozone growth and inflation will be weaker this year than most expect. This underlies
our forecast that the European Central Bank will eventually be forced to loosen policy further, perhaps in the second
half of the year." Christoph Weil, economist at Commerzbank, reckons the European Central Bank will be very
concerned by the eurozone slowdown - which could spur it into more stimulus measures. Weil says (via the FT):
"The spectre of recession is back. "Economic growth in the eurozone came to a virtual standstill at the end of the
year... The ECB is likely to view this with concern." The eurozone growth slump is partly due to Donald Trump trade
wars, says Barret Kupelian, senior economist at PwC. This disappointing performance was not entirely unexpected,
given that the Eurozone has been one of the economies most impacted by international trade disputes. While we
don't have a full national breakdown of the headline growth rate, some statistical agencies released estimates of the
national GDP growth rate. In France, the economy shrunk by 0.1% quarter-on-quarter. However, without the
inventory effect French GDP would have grown by 0.3% quarter on quarter. The Italian economy contracted in the

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last quarter of 2019, meaning that it didn't grow at all last year. But in contrast, Spain continued to grow in the fourth
quarter, translating to an annual GDP growth figure of 2%. We don't yet know how the UK fared in the last quarter;
the most recent figures show 0.1% growth in September-November. But Kupelian points out that the eurozone has
actually outperformed the UK since the Brexit vote -- as Britain "missed out on the synchronised upswing in
economic activity in 2016/17." European stock markets are sliding again today, hit by the unexpectedly weak
growth figures and the ongoing coronavirus crisis. Every index is down, led by Italy (down 1.4%) and Spain (-1%).
In London, the FTSE 100 is also suffering, down 60 points or 0.8% to a six-week low. The news that Britain now
has two coronavirus cases is also worrying traders (and the rest of the public too, I suspect). Josie Dent, Senior
Economist at the CEBR, points out that France and Italy are now half-way into recession following their contractions
last quarter. The eurozone economy scraped through with positive growth of just 0.1% at the end of 2019. Major
economies, including France and Italy recorded contractions in Q4, and politicians in these countries will be anxious
for GDP growth to return, as further contractions in Q1 would put the countries in a technical recession. However, a
glimmer of home comes from the pick-up in inflation, which suggests that demand for goods and services could
have risen at the start of 2020." Here's Reuters' take on today's growth reports: Euro zone economic growth was
slower than expected in the last three months of 2019, a first estimate showed on Friday, while inflation in January
picked up in line with expectations thanks to a jump in prices of food, alcohol and tobacco and energy. The
European Union's statistics office Eurostat said gross domestic product in the 19 countries sharing the euro rose
0.1% quarter-on-quarter for a 1.0% year-on-year gain. Economists polled by Reuters had expected a 0.2%
quarterly and a 1.1% annual increase. Separately, Eurostat said consumer prices fell 1.0% month-on-month in
January for a 1.4% year-on-year rise, accelerating from a 1.3% rate in December and 1.0% in November. However,
the pick-up in headline price growth was mainly due to a jump in the volatile prices of food, alcohol and tobacco
which rose 2.2% year-on-year. Energy prices were also up 1.8%. Without unprocessed food and energy, what the
European Central Bank calls core inflation, prices grew 1.3% year-on-year, decelerating from 1.4% in December.
An even narrower inflation measure watched by many market economists also excluding alcohol and tobacco
prices which can move due to excise tax changes, decelerated even more to 1.1% from 1.3% in December in year-
on-year terms. The ECB wants to keep inflation below but close to 2% over the medium term but has been
struggling for years to spur faster price growth despite its programme of government bond buying on the market to
inject more cash into the economy. In another blow to households, inflation across the eurozone has picked up.
Consumer prices rose by 1.4% year-on-year in December, up from 1.3%, due to rising food, alcohol and tobacco
prices. Some snap reaction to the eurozone slowdown: Newsflash: Growth across the eurozone, and the European
Union, slowed sharply in the last quarter. Eurozone and EU GDP both only rose by 0.1% in October-December,
down from 0.3% in July-September, dragged down by Italy (-0.3%) and France (-0.1%). Economists had expected
the eurozone to grow by 0.2% in the last quarter, in the face of weak global growth and trade tensions. On an
annual basis, the eurozone economy is only 1% larger than a year ago -- a weak performance. We don't yet know
how Germany, the region's biggest economy, performed - that data comes out next month, as does UK GDP.
Eurostat, which compiles the survey, adds: According to a first estimation of annual growth for 2019, based on
quarterly data, GDP grew by 1.2% in the euro area and 1.4% in the EU28. In a fresh sign of a Boris Bounce, UK
mortgage approvals have hit their highest level since mid-2017. Some 67,241 mortgages were signed off in
December, up from 65,514 in November, and higher than expected. That may show the housing market is heating
up, after being dragged back by Brexit uncertainty and political deadlock. City news: Aston Martin has been rescued
in a £500m deal, partly funded by billionaire Lawrence Stroll. As part of the deal, the luxury carmaker will enter
Formula One (where Stroll's son Lance currently wizzes about). Aston Martin is also tapping up its long-suffering
shareholders through a rights issue, letting them buy new stock at £4 -- compared to the £19 they paid when it
floated in 2018. Hopefully Aston Martin's new F1 cars will do a little better. While Europe's economies stumble, the
British pound is enjoying a little rally as the Brexit hour approaches. Sterling is up around 0.3% this morning, hitting
(EURO)1.192 against the euro for the first time since mid-December. The pound is benefitting from yesterday's
Bank of England decision to leave interest rates on hold, dashing expectations of a cut. Traders are also looking
ahead to the UK's trade negotiations. Prime minister Boris Johnson is expected to indicate on Monday that he will
push for a basic trade deal based on that between the EU and Canada. Such a deal could be easier to agree by the
end of the transition period in December. But Downing Street has been warned that another crucial deal, with
America, will be tricky.Kim Darroch, the outgoing British ambassador to Washington, has told the Guardian that
Donald Trump will demand higher NHS drugs prices -- and questioned whether the UK can really negotiate with the

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US and EU at the same time....            https://www.theguardian.com/politics/2020/jan/31/trump-will-put-us-interests-
first-in-trade-talks-says-kim-darroch-ambassador Newsflash: Italy's economy has also contracted, raising further
concerns over the health of the eurozone. Italian GDP shrank by 0.3% in the final three months of 2019, new
figures show. That's the worst quarterly performance since early 2013. ISTAT, Italy's statistics body, blamed weak
domestic demand, with industry and agriculture shrinking and services broadly flat. Economists had expected the
economy to stagnate, but not actually shrink, so this is a blow to Rome. On a year-on-year basis, GDP was
unchanged compared to the fourth quarter of 2018 - further highlighting Italy's weak economy. With France also
shrinking, this is turning into a bad morning for the eurozone.... Asia-Pacific stock markets have suffered fresh
losses today, as traders continue to be gripped by coronavirus fears. South Korea's KOSPI index continued to bear
the brunt, down another 1.3% -- having lost around 2.8% on both Wednesday and Thursday following the Lunar
new year. With China's markets still shut, Hong Kong lost another 0.5%. Japan, though, rallied 0.5% - but still
posted its worst weak in six months. It may not be all bad news for France. Derek Halpenny of MUFG suggests
growth could pick up this quarter, if firms restock after running down their inventories at the end of 2019: France
confirmed this morning that the economy contracted in Q4 - real GDP fell 0.1% Q/Q, well below the consensus
+0.2%. The good news however is that the downside surprise reflected an inventory liquidation - excluding
inventories real GDP would have expanded by 0.3% Q/Q. So we may see that growth come back in Q1. Better
news: Spain's economy has grown by 0.5% in the last quarter of 2019 That's up from 0.4% in Q3, partly making up
for France's decline. Today's weak French GDP report is a blow to Emmanuel Macron, says Bloomberg: Gross
domestic product in the region's second-largest economy fell 0.1% in the fourth quarter amid a decline in exports
and a huge drag from inventories. All of the economists surveyed by Bloomberg had predicted growth. Without the
inventory effect, growth would have been about 0.3%, according to Bloomberg Economics. Still, the contraction is a
sting for Macron, who's already facing mass protests and strikes against his pension reforms, and which have
disrupted household spending. His government has repeatedly pointed to France's relative strength in Europe as a
sign his reforms of taxes and labor laws are working. European economists are disappointed to see that France's
economy has contracted. UBS's Filip Lipev says the GDP data is worst than expected, due to weak domestic
demand....and a bad start to the day. Ludovic Subran, chief economist at Allianz, blames the anti-government
strikes that have gripped Paris for many months: Good morning, and welcome to our rolling coverage of the world
economy, the financial markets, the eurozone and business. France's economy has suffered a shock contraction,
raising fresh concerns about the heart of the Eurozone - on the day Britain leaves the EU. French GDP contracted
by 0.1% in the fourth quarter of 2019, new figures from statistics body INSEE show. That's down from 0.3% growth
in July-September, and much worse than the 0.2% forecast. The decline was driven by a slowdown in consumer
spending, and a sharp drop in business investment growth.. Companies also ran down their inventory stocks,
suggesting nervousness about the future. Imports and exports both declined -- a worrying sign for the health of the
economy. President Macron will surely be concerned -- this is the first time France's economy has contacted since
he took office. INSES says: Household consumption expenditures slowed down slightly (+0.2% after +0.4%), and
total gross fixed capital formation decelerated in a more pronounced manner (GFCF: +0.3% after +1.3%). Overall,
final domestic demand excluding inventory changes slowed down compared with the previous quarter: it contributed
to +0.3 points to GDP growth, after +0.7 points. Imports fell back this quarter (-0.2% after +0.6%) as well as exports
(-0.2% after -0.3%). All in all, the contribution of foreign trade balance to GDP growth was zero, after a negative
contribution (-0.3 points) in the previous quarter. Changes in inventories contributed negatively to GDP growth (-0.4
points after -0.1 points). France is the first major European country to post GDP figures for the last quarter, so this
is a worrying sign - especially as Germany only narrowly avoided recession last year. It means France's economy
only grew by 1.2% in 2019, down from 1.7% in 2018. We'll find out later this morning how Italy fared, and then how
the overall eurozone performed during the last quarter. Reaction to follow.... The agenda 9am GMT: First estimate
of Italian GDP for Q4 2019 9.30am GMT: UK mortgage approvals figures for December 10am GMT: First estimate
of Eurozone GDP for Q4 2019 17834 false false Graeme Wearden                Growth across the eurozone has been hit
by weak domestic demand and trade tensions                 French Economy Minister Bruno Le Maire.             UK and
eurozone growth         European stock markets        An electronic stock board showing Japan's Nikkei 225 index at a
securities firm in Tokyo today       French GDP


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             Markets in turmoil after coronavirus stokes fears over growth
                                                       The Times (London)
                                                    January 31, 2020 Friday
                                                    Edition 2, National Edition


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Section: BUSINESS; Pg. 35
Length: 345 words
Byline: Alex Ralph

Body


Investors took fright about the effect of the coronavirus on economic growth, pushing Europe's stock markets
lower and dragging the price of oil down, after world health officials declared a global emergency.

Travel, leisure and energy companies were among the biggest fallers. One company that came under particular
scrutiny was Carnival, the world's big-gest cruise operator. Nervous investors headed for the exit after the company
revealed suspected cases of coronavirus on one of its ships.

About 6,000 people were kept on board the Costa Smeralda, an Italian cruise ship docked in Civitavecchia, north of
Rome, and owned by Carnival, whilst tests were carried out on two Chinese passengers. They were later cleared
by the health ministry.

Shares in Carnival, which are quoted in London, fell by almost 11 per cent at one point as other leisure and travel
companies also weakened. By the close of trading yesterday Carnival was down 170p, or 5.1 per cent, to £31.68.

The FTSE 100 closed down 101.61 points, or 1.36 per cent, at 7,381.96, while the CAC40 in Paris fell 1.4 per cent
and the Dax in Frankfurt also dropped by 1.4 per cent.

Oil prices fell to a three-month low, with Brent crude, the international benchmark, down 2.5 per cent at $58.27 a
barrel. The price of copper was at its weakest in five months, before closing down 1 per cent at $5,587.5 a tonne.

The weaker oil price weighed on Royal Dutch Shell, which was down by 4.4 per cent. Diageo, which also issued a
trading update yesterday, fell by 2.6 per cent. Ivan Menezes, its chief executive, said it was monitoring the fast-
changing situation closely.

The International Monetary Fund said that it was too early too quantify the potential economic impact of the virus
which is disrupting tourism and commerce.

On Wall Street, a late rally reversed losses on US markets. The Dow Jones industrial average closed up 124.99
points, or 0.4 per cent, at 28,859.44 while the more broadly spread S&P 500 rose by 10.26 points, or 0.3 per cent,
at 3,283.66. The Nasdaq was up 23.77 points, or 0.3 per cent, at 9,298.93.


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                  Markets in turmoil after coronavirus stokes fears over growth



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